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9
10                                UNITED STATES DISTRICT COURT
11                              NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,                     )       No. CR 05-00447 CRB
                                                   )
15           Plaintiff,                            )       REQUEST, STIPULATION AND ORDER
                                                   )
16      v.                                         )
                                                   )
17   MIN SUNG KIM,                                 )
                                                   )
18           Defendant.                            )
                                                   )
19
             This matter is currently on the Court’s calendar for June 7, 2006. Through counsel,
20
     defendant Min Sung Kim and the United States ask the Court to (a) vacate the June 7, 2006 date
21
     based on the defendant’s anticipated plea agreement, (b) set a date of July 5, 2006 for change-of-
22
     plea, and (c) exclude time under the Speedy Trial Act, 18 U.S.C. § 3161 from June 7, 2006, to
23
     July 5, 2006.
24
        1. The parties are currently working out the language of a plea agreement and request that the
25
     Court set the matter for July 5, 2006, for change-of-plea.
26
        2. The parties agree that the time between June 7, 2006 and July 5, 2006 should be excluded
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     from the Speedy Trial clock. Previously, the Court has declared this case complex. See 18
28
     ORDER
     CR 05-00447 CRB
                                                       1
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1    U.S.C. § 3161(h)(8)(B)(ii). Further, defense counsel is continuing to review discovery, including
2    recently provided materials, and negotiate the plea language. These matters need a short amount
3    of time to be resolved, and thus the parties agree that a continuance is necessary for the effective
4    preparation of defense counsel, taking into account the exercise of due diligence. See 18 U.S.C.
5    § 3161(h)(8)(B)(iv). The parties also agree that the ends of justice served by excluding the
6    period from June 7, 2006 to July 5, 2006 outweigh the interest of the public and the defendant in
7    a Speedy Trial. See id. § 3161(h)(8)(A).
8         STIPULATED:
9
       June 2, 2006                                  /S/     PETER B. AXELROD
10   DATE                                          PETER B. AXELROD
                                                   LAUREL BEELER
11                                                 Assistant United States Attorneys
12
       June 2, 2006                                  /S/   MARK GOLDROSEN
13   DATE                                          MARK GOLDROSEN
                                                   Attorney for Min Sung Kim
14
15
16                                                 ORDER
17        For good cause shown, and for the reasons stated above, the Court (a) vacates the June 7,
18   2006, hearing date for defendant Min Sung Kim based on the anticipated plea agreement, (b) sets
19   the matter for change-of-plea on July 5, 2006, at 2:15 p.m., and (c) excludes times under the
20   Speedy Trial Act, 18 U.S.C. § 3161, from June 7, 2006, to July 5, 2006. The Court finds that the
21   failure to grant the requested exclusion would deny defense counsel reasonable time necessary
22   for effective preparation taking into account the exercise of due diligence. Further, the Court
23   finds the exclusion warranted on complexity grounds, under 18 U.S.C. § 3161(h)(8)(B)(ii).
24   Thus, the Court finds that the ends of justice served by granting the requested exclusion outweigh
25   the best interest of the public and the defendant in a speedy trial and in the prompt disposition of
26   criminal cases. The Court therefore concludes that this exclusion of time should be made under
27   \\
28
     ORDER
     CR 05-00447 CRB
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1    18 U.S.C. §§ 3161(h)(8)(A), (h)(8)(B)(ii) and (h)(8)(B)(iv).
2       IT IS SO ORDERED.
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                                                                   S DISTRIC
4            June 2, 2006
     DATED:________________                               TE                TC
                                                  ___________________________
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                                                        T
                                                  CHARLES     R. BREYER




                                                                                      O
                                                     S
5                                                 United States District Judge




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     ORDER
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